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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF TEXAS
                             FORT WORTH DIVISION

UNITED STATES OF AMERICA                  §
                                          §
VS.                                       §   CASE 4:22-CR-00034-O-6
                                          §
LAURA ORTIZ                               §


                UNOPPOSED MOTION TO CONTINUE SENTENCING

TO THE HONORABLE JUDGE OF SAID COURT:

      Now comes LAURA ORTIZ, by and through counsel of record, and makes

this Motion to Continue Sentencing. In support hereof the Defendant would

show the Court the following:

      1. Defendant entered a plea on February 15, 2022 and sentencing in this

matter is scheduled for June 17, 2022.

      2. The Presentence Report in this matter was filed under seal on April 26,

2022. Counsel has discussed the Presentence Report with the Defendant;

however, additional time is needed to gather further relevant sentencing

information on behalf of the Defendant.

      3. Counsel is requesting an extension of time to file objections to the

presentence report.

      4. The undersigned counsel has contacted counsel for the Government,

P.J. Meitl and he is not opposed to this continuance. The defendant is aware of

this Motion and has no objection to a continuance.
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      5.   This Motion is not made for delay but in the interest of justice.



      WHEREFORE, for the reasons set forth above, the defendant respectfully

requests this Honorable Court continue the sentencing date in this matter.



                                              Respectfully submitted,




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                                Certificate of Service

This is to certify that on June 15, 2022, a true and correct copy of the foregoing
pleading was electronically filed via the CM/ECF System with service sent by
email to AUSA PJ Meitl.



                                              JAY S. NORTON
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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF TEXAS
                              FORT WORTH DIVISION

UNITED STATES OF AMERICA                  §
                                          §
VS.                                       §     CASE 4:22-CR-00034-O-6
                                          §
LAURA ORTIZ                               §


                                      ORDER

       After due consideration, the Motion to Sentencing is in all things granted.

The sentencing in this matter shall be moved to a date in the future.




DATE                                               JUDGE PRESIDING
